Case 1:24-cv-12626-FDS Document 1-1 Filed 10/15/24 Page 1 of 2

3S 44 (Rev. 10/20)

purpose of initiating the civil docket sheet. (SEE INSTRUCTIONS ON NEXT PAGE OF THIS FORM, )

/ CIVIL COVER SHEET

The JS 44 civil cover sheet and the information contained herein neither-replace nor: supplement the: filing and service of pleadings or other papers as required by law, except as
provided by local rules of court. This form, approved by the Judicial Conference of the United Statés'in September 1974, is required for the use of the Clerk of Court for the

I. (@) PLAINTIFFS

DEFENDANTS
PAARY RET Vy Count

WAY e+. al,

NK nda<é Gisasor .
arate Amacom © orb Dud coal Bsanch
(b) County of necidence of First Listed Plaintiff re fx g ant 0 AC County of Residence of First Listed Defendant N i4

(EXCEPT IN U.S. PLAINTIFF CASES)

(c) Altomey 'S (Firm Name, Address, and Telephone Nunther)

. - (IN U.S. PLAINTIFF CASES ONLY)

IN LAND CONDEMNATION CASES, USE THE LOCATION OF

NOTE:
THE TRACT OF LAND INVOLVED.

Attomeys (if Known)

If. BASIS OF JURISDICTION (Place an “X" in One Box Only)

[J]! US. Government
Plaintiff

[]2 U.S. Government
Defendant

Federal Question
(U.S. Government Not

[14 Diversity

(Indicate Citizenship of Parties in lem ID)

If. CITIZENSHIP OF PRINCIPAL PARTIES (Place an "X" in One Box for Plaintiff
(For Diversity Cases Only) and One Box for Defendant)
PT, DEF PTF DEF
a Party) Citizen of This State 1 [J 1 Incorporated or Principal Place Ol¢ (4
of Business In This State

Citizen of Another State [}2 [4 2 Incorporated and Principal Place Cis Os

of Business In Another State
Citizen or Subject of s (13 (2) 3 Foreign Nation Os (De

Forcign Country

H10 Insurance

120 Marine

130 Miller Act

140 Negotiable Instrument
150 Recovery of Overpayment

& Enforcement of Judgment]

151 Medicare Act

152 Recovery of Defaulted
Student Loans
(Excludes Veterans)

H

oO 153 Recovery of Overpayment
of Vetcran’s Benefits

[] 160 Stockholders’ Suits

[_]190 Other Contract

195 Contract Product Liability

196 Franchise

A

IV. NATURE OF SUIT; (Place au “X" in One Box : Only)
:aUCONTRACT MEN RE Ris CREE

WUREALD PROPERTY S333

rj

EA CLVILARIGHTS 28:3] BERISONER PE?

Click wae for: Nature of of Sui God Descri

PERSONAL INJURY PERSONAL INJURY “6 625 Drug Related Seizure: 122 Appeal 28 USC 158
310 Airplane 0D 365 Personal Injury - of Property 21 USC 88} 423 Withdrawal |_| 376 Qui Tam (31 USC
315 Airplane Product Product Liability | _]690 Other 28 USC 157 3729(a))
Liability ([] 367 Health Care/ || 400 State Reapportionment
|| 320 Assault, Libel & Pharmaceutical |_| 410 Antitrust
Slander Personal Injury 430 Banks and Banking
1 330 Federal Employers’ Product Liabitity 830 Patent 450 Commerce
Liability [1368 Asbestos Personal 835 Patent - Abbreviated 460 Deportation
340 Marine Injury Product New Drug Application 470 Racketeer Influenced and
345 Marine Product Liability [_] 840 Trademark Corrupt Organizations
Liability PERSONAL PROPERTY [2@ceseineDABOR Wee | 880 Defend Trade Secrets |] 480 Consumer Credit
+ 350 Motor Vehicle H 370 Other Fraud 710 Fair Labor Standards Act of 2016 (15 USC 1681 or 1692)
355 Motor Vehicle 371 Truth in Lending Act } 485 Telephone Consumer
Product Liability [_] 380 Other Personat [_]720 Labor/Management Protection Act
4] 360 Other Personal Property Damage Relations 490 Cable/Sat TV
Injury oO 385 Property Damage 740 Railway Labor Act 862 Black Lung (923) 850 Sccuritics/Commodities/
|] 362 Personal Injury - Product Liability 75 Family and Medical 863 DIWC/DIWW (405(g)) Exchange
Medical Malpractice Leave Act 864 SSID Title XVI 890 Other Statutory Actions
790 Other Labor Litigation 865 RSI (405(g)) “| 891 Agricultural Acts

893 Environmental Matters

210 Land Condemnation 7 440 Other Civil Rights Habeas Corpus: 791 Employee Retirement
220 Foreclosure 441 Voting 463 Alicn Detainee Income Sccurity Act ATA ; 895 Freedom of Information
230 Rent Lease & Ejectment 442 Employment 510 Motions to Vacate 4 870 Taxes s(U. S. Plaintiff Act
240 Torts to Land 443 Housing/ Sentence or Defendant) 896 Arbitration
245 Tort Product Liability Accommodations [| 530 Generat [_} 871 IRS—Third Party 899 Administrative Procedure
|} 290 All Other Real Property | 445 Amer. w/Disabilities -[" ] 535 Death Penalty A z 26 USC 7609 Act/Review or Appeal of
Employment Others “T462 Naturalization Application "Agency Decision
| 1446 Amer. w/Disabilities -{ ] 540 Mandamus & Other 465 Other Immigration | 950 Constitutionality of
Other 550 Civil Rights Actions State Statutes
P1448 Education 595 Prison Condition
560 Civil Detainee -
Conditions of
Confinement

Vv. ORIGIN (Place an “X" in One Box Only)

6 Multidistrict 8 Multidistrict

uy Original cy Removed. from 3. Remanded from C4 Reinstated or CO 5 Transferred from
Proceeding State Court Appellate Court Reopened . Another District Litigation - Litigation -
(specify) Transfer Direct File
$C ite the ULS. Civil Statute under nt xo are filing “% not clte te Jur|sdferlonal statutes unless diversity):
— OP 4 s3 \a \ 5
VI. CAUSE OF ACTION + 7
Brief description of cause:
1K ADP Sen ty ie erc-
VIL REQUESTEDIN [7] CHECK IF THIS IS A CLASS ACTION DEMAND $ CHECK YES only if demanded in complaint:
COMPLAINT: UNDER RULE 23, F.R.Cv.P. JURY DEMAND: —[t}¥es__[[]No
VIII. RELATED CASE(S) 6
instructions):
IF ANY ee insiracions! ne DOCKET NUMBER
DATE . SIGNATURE OF ATTORNEY OF RECORD ~
y yor 72 Ke Bear
“ FOR OFFICE USE ONLY aN
JUDGE MAG. JUDGE

RECEIPT #

AMOUNT

APPLYING IFP

Case 1:24-cv-12626-FDS Document 1-1 Filed 10/15/24 Page 2 of 2

UNITED STATES DISTRICT COURT
DISTRICT OF MASSACHUSETTS

1. Title of case (name of first party on each side ont) A nore Bicseset:
\ZUIMIARY Countiway | AW DAI CIA Branch.
v ; f

2. Category In which the case belongs based upon the numbered nature of suit code listed on the civil cover sheet. (See locat- LQ
rule 40.1(a)(1)). vores ot : eee
I 160, 400, 410, 441, 535, 830*, 835*, 850, 880, 891, 893, R.23, REGARDLESS OF NATURE OF SUIT.

ww °
i 110, 130, 190, 196, 370, 375, 376(440 442, 443, 445, 446, 448, 470, 754, 820", 840°, 895, 896, 899.

120, 140, 150, 151, 152, 153, 195, 210, 220, 230, 240, 245, 290, 310, 315, 320, 330, 340, 345, 350, 355, 360, 362,
365, 367, 368, 371, 380, 385, 422, 423, 430, 450, 460, 462, 463, 465, 480, 485, 490, 510, 530, 540, 550, 555, 560,
625, 690, 710, 720, 740, 790, 791, 861-865, 870, 871, 890, 950.

*Also complete AO 120 or AO 121. for patent, trademark or copyright cases.

i.

Title and number, if any, of related cases. (See local rule 40.1(g)). if more than one prior related case has been filed in this
district please indicate the title and number of the first filed case in this court.

iled In this court -

i

4. Has a prior action between the same parties and based on the same claim ever bee
YES NO

5. Does the complaint in this case question the constitutionality of an act of congress affe
§2403)

cting the public interest? (See 28 USC

YES NO

if so, is the U.S.A. or an officer, agent or employee of the U.S. a party?

YES NO

pursuant to title 28 USC §2284?

6. Is this case required tobe heard and determined by a district court of three judges
YES | NO [Ll

7. Deall of the parties in this action, excluding governmental agencies of the United States and the Commonwealth of
_ Massachusetts ("governmental agencies"), residing in Massachusetts reside In the e division? - {See Local Rule 40.1(d)).
YES [| NO

A. If yes, in which divis 9 all of the non-governmental parties reside?
Eastern Division Central Division Western Division [ ]

” B. If ro, in which division do the majority of the plaintiffs or the only parties, excluding governmental agencies,
residing in Massachusetts reside?

Eastern Division L ] Central Division L] Western Division LJ

any motions pending in the state court requiring the attention of this Court? (If yes,

if

8. If filing a Notice of Rernoval - are there
submit a separate sheet identifying the motions) ,
| 4

YES NO

(PLEASE TYPE OR PRINT)
ATTORNEY'S NAME ArATe By Satyr
ADDRESS VAS) 6 7A Wass agten Streey - 206, Atle bers) MR 62707

TELEPHONE NO.__7 61 ~U42" (47S

(CategoryForm11-2020.wpd )
